        Case 1:19-mc-00145-TSC Document 399 Filed 01/12/21 Page 1 of 10




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                              )
In the Matter of the                          )
Federal Bureau of Prisons’ Execution          )
Protocol Cases,                               )
                                              )
LEAD CASE: Roane et al. v. Barr               )       Case No. 19-mc-145 (TSC)
                                              )
                                              )
THIS DOCUMENT RELATES TO:                     )
                                              )
Roane, et al. v. Barr, No. 05-2337            )
                                              )

         DEFENDANTS’ MOTION TO STAY INJUNCTION PENDING APPEAL
       Pursuant to Federal Rule of Civil Procedure 62(c)(1), and consistent with Federal Rule of

Appellate Procedure 8(a)(1), Defendants respectfully move for a stay pending appeal of this

Court’s Memorandum Opinion and Order, issued on January 12, 2021, ECF Nos. 394 and 395,

staying the executions of Plaintiffs Cory Johnson and Dustin Higgs until March 16, 2021. ECF

No. 395. Because Johnson’s and Higgs’s executions are scheduled to take place on January 14

and 15, 2021, respectively, Defendants intend to seek relief from the United States Court of

Appeals for the District of Columbia Circuit imminently.

       Defendants recognize that this Court has concluded that Plaintiffs are entitled to
preliminary injunctive relief on their as-applied Eighth Amendment claims. However, Federal

Rule of Appellate Procedure 8(a)(1) counsels that Defendants should first move in this Court for

a stay of the injunction pending appeal before seeking a stay in the court of appeals. Accordingly,

for the reasons stated below and in Defendants’ opposition to Johnson’s and Higgs’s motions for

preliminary injunction, see ECF No. 380, and in light of the evidence elicited by Defendants during

the evidentiary hearing, Defendants respectfully ask the Court to stay its injunction pending appeal.

28 C.F.R. § 0.20(b); 28 U.S.C. § 2107(b).
        Case 1:19-mc-00145-TSC Document 399 Filed 01/12/21 Page 2 of 10




                                   STANDARD OF REVIEW

       Federal Rule of Civil Procedure 62(c) provides in relevant part: “When an appeal is taken

from an interlocutory or final judgment granting . . . an injunction, the court in its discretion may

suspend . . . an injunction” during the pendency of the appeal. When considering such a motion,

district courts should look to the same factors as those governing a motion for a preliminary

injunction: “(1) whether the stay applicant has made a strong showing that he is likely to succeed

on the merits; (2) whether the applicant will be irreparably injured absent a stay; (3) whether

issuance of the stay will substantially injure the other parties interested in the proceeding; and (4)

where the public interest lies.” Hilton v. Braunskill, 481 U.S. 770, 776 (1987). Before seeking a

stay from the court of appeals, a party must ordinarily move first in the district court for an order

suspending an injunction pending appeal. Fed. R. App. P. 8(a).

                                           ARGUMENT

I.     DEFENDANTS ARE LIKELY TO SUCCEED ON THE MERITS OF THEIR
       APPEAL OF THIS COURT’S INJUNCTION
       Defendants are likely to succeed on the merits of their appeal of this Court’s injunction.

Defendants respectfully submit that this Court erred in concluding that Plaintiffs have

demonstrated “that as a result of their COVID-19 infection, they have suffered significant lung

damage such that they will experience the effects of flash pulmonary edema one to two seconds

after injection and before the pentobarbital has the opportunity to reach the brain.” Mem. Op. at

3, ECF No. 394. The Court’s rationale for granting injunctive relief to Higgs and Johnson is

essentially no different than the rationale upon which the Court granted Plaintiff Daniel Lewis Lee

and three other plaintiffs’ general Eighth Amendment claim. See ECF No. 135. Previously, the

Court concluded that “[t]he scientific evidence before the court overwhelmingly indicates that the

2019 Protocol is very likely to cause Plaintiffs extreme pain and needless suffering during their

execution.” Id. at 9. As the Court recognized today, it previously had rendered its previous

preliminary injunction after “weigh[ing] the declarations of several experts, including Drs. Gail

Van Norman and Joseph Antognini.” Mem. Op. at 6, ECF No. 394. The Court also acknowledged,

                                                  2
        Case 1:19-mc-00145-TSC Document 399 Filed 01/12/21 Page 3 of 10




id. at 7, that the Supreme Court in Barr v. Lee, 140 S. Ct. 2590 (2020), vacated its preliminary

injunction on the basis “that pentobarbital ‘has become a mainstay of state executions . . . [h]as

been used to carry out over 100 executions, without incident,’ and was upheld ‘as applied to a

prisoner with a unique medical condition that could only have increased any baseline risk of pain

associated with pentobarbital as a general matter.’” Mem. Op. at 7, ECF No. 394 (quoting Lee,

140 S. Ct. at 2591).     The Court further recognized that while the Supreme Court in Lee

“acknowledged Plaintiffs’ expert declarations regarding flash pulmonary edema,” it had also

“noted that ‘the [g]overnment has produced competing expert testimony of its own, indicating that

any pulmonary edema occurs only after the prisoner has died or been rendered fully insensate.’”

Id. (quoting Lee, 140 S. Ct. at 2591). Finally, the Court noted that “[i]n light of the competing

evidence—and despite this court’s assessment that Plaintiffs’ evidence was more credible—the

Supreme Court found that Plaintiff had ‘not made the showing required to justify last-minute

relief.’” Id. (quoting Lee, 140 S. Ct. at 2591).

       The same is true regarding Johnson’s and Higgs’s as-applied challenges. The Court

acknowledged that “whether these two Plaintiffs will experience the symptoms of flash pulmonary

edema while they are still conscious, . . . has been the subject of much debate amongst the experts

in this case.” Id. at 8. The Court also acknowledged that Dr. Van Norman admitted that she had

no scientific evidence to support her opinion that “inmates with lung damage from COVID-19 will

experience flash pulmonary edema within a second or two after injection, before pentobarbital has

reached the brain,” id. at 11, because “no physician or scientist has administered massive overdoes

of intravenous pentobarbital to COVID-19 patients.” Id. Yet, the Court accepted Dr. Van

Norman’s speculation about how being infected with the novel coronavirus will impact the

inmates. At the same time, the Court summarily dismissed Dr. Antognini’s opposing opinion as

“conclusory,” id. at 12, when Dr. Van Norman’s opinions are no less conclusory (on an issue on

which Plaintiffs bear the burden of proof)—in fact, her statement on direct examination that flash

pulmonary edema will set in within a second or two after injection is entirely absent from her

declarations in support of either Higgs or Johnson. Furthermore, the Court erred in failing to

                                                   3
         Case 1:19-mc-00145-TSC Document 399 Filed 01/12/21 Page 4 of 10




account for the testimony of Defendants’ expert, Dr. Crowns, that “there are very few things that

happen instantaneously. And I feel that from everything that I’ve been able to find that . . . flash

pulmonary edema[] takes several minutes to set in.” Hr’g Tr. at 25:5-8 (Jan. 4, 2021). The Court

also erred in finding Plaintiffs’ expert, Dr. Michael Stephens, more credible than both Defendants’

expert, Dr. Todd Locher, and an independent radiologist’s report as to Plaintiff Higgs’s chest x-

ray. The Court found that “one does not have to be an expert to see” lung damage on Higgs’s chest

x-ray, Mem. Op. at 15, ECF No. 394, and discredited the independent radiologist’s report because

the Court “does not know if Dr. Yoon routinely reviews x-rays of COVID-19 patients.” Id. at 16.

Of the three doctors mentioned, only Dr. Yoon is a radiologist whose very specialty is to interpret

the x-rays. Dr. Yoon is also not a retained expert, but is an outside provider for BOP.

         In light of what all the experts in this case admit is a novel and unpredictable disease, the

Court has simply become “embroil[ed] . . . in [an] ongoing controvers[y] beyond [its] expertise.”

Baze v. Rees, 553 U.S. 35, 51 (2008). Under Lee, that debate fails to justify an injunction at this

stage.

         Furthermore, the Court has again failed to recognize that “the Eighth Amendment does not

guarantee a prisoner a painless death.” Bucklew v. Precythe, 139 S. Ct. 1112, 1124 (2019).

“Instead, what unites the punishments the Eighth Amendment was understood to forbid, and

distinguishes them from those it was understood to allow, is that the former were long disused

(unusual) forms of punishment that intensified the sentence of death with a (cruel) superadd[ition]

of terror, pain, or disgrace.” Id. (citations omitted). The Sixth Circuit addressed whether

pulmonary edema qualifies “as the type of serious pain prohibited by the Eighth Amendment,” In

re Ohio Execution Protocol Litigation, 946 F.3d 287, 289 (6th Cir. 2019), and found that it did not

because the risk of pain associated with pulmonary edema is comparable to that “associated with”

other forms of execution that have long been upheld as constitutional, “such as hanging.” Id. As

Defendants argued in their opposition to Johnson and Higgs’s preliminary injunction motions, this

was consistent with Bucklew because Bucklew did not assume that an inmate would feel no pain;

to the contrary, it allowed for the possibility that the inmate could experience feelings of

                                                  4
        Case 1:19-mc-00145-TSC Document 399 Filed 01/12/21 Page 5 of 10




“suffocation and excruciating pain” for as long as 20 to 30 seconds. See 139 S. Ct. at 1132 (citation

omitted). Even assuming the record contained evidence to support the Court’s statement that

“Plaintiffs will suffer the effects of flash pulmonary edema anywhere from thirty seconds to two-

and-a-half minutes after injection,” Mem. Op. at 11, ECF No. 394, thirty seconds is not any longer

than the period of time at issue in Bucklew and even two-and-a-half minutes is less time than

hangings can involve. Although, as the Court states, the D.C. Circuit found that at the pleading

stage, an inmate could plausibly plead that flash pulmonary edema could give rise to an Eighth

Amendment violation, see id. at 2 n.1 (citing In re Federal Bureau of Prisons Execution Protocol

Cases, 980 F.3d 123, 133 (D.C. Cir. 2020), that discussion occurred in the absence of the sort of

competing expert testimony at issue here and did not purport to resolve whether these plaintiffs

could ultimately establish a substantial risk of needless pain with the requisite certainty.

       Finally, the Court erred in finding that Plaintiffs have identified known and available

alternatives. As for adding an opioid to the government’s single-drug pentobarbital protocol, the

approach has never been used to carry out an execution, and the Supreme Court has recognized

that “choosing not to be the first [State] to experiment with a new method of execution is a

legitimate reason to reject it.” Bucklew, 139 S. Ct. at 1130. The alternative of firing squad

similarly does not meet the standard for a method of execution challenge given the consensus

among the States that lethal injection is more dignified and humane than the firing squad. That is,

the government is not constitutionally required to make the type of regressive change Higgs and

Johnson propose.

       Accordingly, Defendants are likely to succeed on the merits of their appeal of this Court’s

injunction.

II.    THE BALANCE OF HARMS WEIGHS IN FAVOR OF A STAY OF THE
       INJUNCTION
       This Court entered the injunction at issue after concluding that “Plaintiffs would be

subjected to an excruciating death in a manner that is likely unconstitutional.” Mem. Op. at 27-

28, ECF No. 394. Defendants respectfully disagree. The Supreme Court has repeatedly warned

                                                  5
        Case 1:19-mc-00145-TSC Document 399 Filed 01/12/21 Page 6 of 10




against the issuance of eleventh hour injunctions such as this, including in this very case. See Lee,

140 S. Ct. at 2591. It has recognized the government and the victims’ compelling interest in the

timely enforcement of a death sentence. See Calderon v. Thompson, 523 U.S. 538, 556 (1998);

Gomez v. U.S. Dist. Court for N. Dist. of Cal., 503 U.S. 653, 654 (1992); see also Bucklew v.

Precythe, 139 S. Ct. 1112, 1134 (2019) (“The people of Missouri, the surviving victims of [the

condemned inmate’s] crimes, and others like them deserve better. Even the principal dissent

acknowledges that the long delays that now typically occur between the time an offender is

sentenced to death and his execution are excessive.”) (citation omitted from parenthetical). That

is particularly true where, as here, Johnson’s and Higgs’s executions dates are set to occur in just

two and three days, respectively. The government has mobilized its resources to carry out their

lawful sentences, and the victims’ family members are planning to attend the respective

executions. The last-minute stay imposed by the Court is unwarranted.

                                         CONCLUSION

       For the foregoing reasons, Defendants respectfully request that this Court stay pending

Defendants’ appeal of the Court’s January 12, 2021 Memorandum Opinion and Order enjoining

the executions of Johnson and Higgs.



Dated: January 12, 2021




                                                 6
      Case 1:19-mc-00145-TSC Document 399 Filed 01/12/21 Page 7 of 10




Respectfully submitted,

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Dated: January 12, 2021




                                         7
         Case 1:19-mc-00145-TSC Document 399 Filed 01/12/21 Page 8 of 10




                                CERTIFICATE OF SERVICE

       I hereby certify that on January 12, 2021, I caused a true and correct copy of foregoing to be

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                                             3
       Case 1:19-mc-00145-TSC Document 399 Filed 01/12/21 Page 10 of 10


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                                               4
